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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.       CV 23-6657 MRW                                          Date    January 11, 2024

 Title          Circled Wagons Mgmt v. Loder



 Present:                    Hon. Michael R. Wilner, U.S. Magistrate Judge
                   James Muñoz                                                 n/a
                   Deputy Clerk                                      Court Reporter / Recorder

                Attorneys for Plaintiff:                              Attorneys for Defendant:

                          n/a                                                    n/a

 Proceedings:             ORDER DENYING DISMISSAL MOTION

      1.     This is a copyright infringement action. Defendant Loder moved to dismiss
the amended complaint on the ground that his use of Plaintiff’s visual work was protected
under the fair use provision of the federal copyright statute. (Docket # 20.) For the
reasons stated at length at our hearing, the dismissal motion is denied without prejudice.

        2.     A district court’s application of the fair use defense is a mixed question of law
and fact. Monge v. Maya Magazines, Inc., 688 F.3d 1164, 1170 (9th Cir. 2012). At this
early stage of the lawsuit, numerous unexplored factual issues – focusing primarily on the
nature of the actual use that Defendant allegedly made with the protected work, and the
financial implications stemming from that – will drive that analysis. Taking the
allegations in the amended complaint as true, Defendant cannot presently demonstrate
that the fair use doctrine applies here as a complete defense as a matter of law or fact.
Andy Warhol Foundation for the Visual Arts, Inc. v. Goldsmith, 598 U.S. 508, 525 (2023)
(first fair use factor analysis of alleged infringing use “is a matter of degree, and the
degree of difference must be weighed against other considerations”); Sedlik v. Von
Drachenberg, No. CV 21-1102 DSF (MRWx) (C.D. Cal.) (Docket # 160 at 9) (“Whether the
[allegedly infringing] Tattoo was done for a commercial purpose is a material factual issue
that must be resolved by a jury.”).

        3.    In the interests of clarity, the denial of the dismissal request at this stage of
the litigation will not serve as law of the case, nor will it preclude either party from
presenting their positions regarding fair use at the summary judgment or trial phases of
the case.

      4.     The defense is directed to file a timely answer to the complaint. Because the
parties have already conducted their Rule 26(f) meeting, you may commence discovery.



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     5.     Now that I’ve actually reviewed your Rule 26 report (Docket # 21 – I had it in
my notes the entire time!), I’ve tweaked your dates a bit to account for the motion practice:

                Event                                            Date
                Last Day to Amend Pleadings or Add               February 9, 2024
                Parties
                Fact Discovery to be Completed                   June 28, 2024
                Expert Disclosure Produced                       June 28, 2024
                Rebuttal Disclosure (or other disclosures        July 12, 2024
                under FRCP 26(a)(2)(D)) Produced
                Expert Discovery Concluded                       July 26, 2024

                ADR Completed                                    June 28, 2024
                Last Day for Summary Judgment Motions            August 14, 2024
                to Be Heard
                Filing of PTC Order, Jury Instructions (joint    TBD
                and disputed), and Other Trial Documents
                Pretrial Conference and                          TBD
                Hearing on Pretrial Motions
                Trial                                            TBD


      6.     Additionally, the Court will conduct the “half-time” video status conference
with the parties on May 8, 2024, at 9:30 a.m.

      7.      Finally, the Court authorizes the parties to request a conference with
Judge Wilner before moving for an order relating to discovery. (Fed. R. Civ. P. 16(b)(3)(v).)
The party seeking such a conference may send an e-mail request to MRW_chambers@
cacd.uscourts.gov. The request must: (a) include a one- or two-line summary of the
discovery dispute; (b) indicate that the parties have been unable to resolve the dispute
informally; and (c) copy all parties on the e-mail. N.B. – A party that uses this informal
procedure unnecessarily or without making appropriate efforts to resolve disputes directly
may forfeit this privilege. The parties are further advised that any contested discovery
motion must be filed and heard before the close of the relevant (fact or expert) discovery
period set forth above.


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      8.    The parties are advised to periodically review the Court’s website
(www.cacd.uscourts.gov) for online updates to Judge Wilner’s pretrial and trial
procedures.

      9.    The parties’ joint request to mediate the action with a volunteer from the
Court’s ADR panel is approved.




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